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                                                                                                                                      FILED
                                                                                                                               t:A.,.Y.S. DISTRICT COURT
                                                                                                                               -•eRN DISTRICT ARKANSAs
,\02.J5H      (Rtv. 0911 1) Jt~dgmcn! in <I Criminal rase
              Sheet I                                                                                                             APR 2 5 2014
                                                                                                                       JBy~:MES ~?~R. MACK, CLERK
                                            UNITED STATES DISTRICT COURT                                                          ~L r6:_
                                                                                                                                                     DEPCLERK
                                                              Eastern District of Arkansas
                                                                            )
              UNITED STATES OF AMERICA                                      )          JUDGMENT IN A CRIMINAL CASE
                                    v.                                      )
                      Kyle Matthew Branch                                   )
                                                                            )
                                                                                       Case Number: 4:13-cr-336-DPM-2
                                                                            )          USM Number: 28383-009
                                                                            )
                                                                            )          Richard N. Turbeville
                                                                                       De lcndant" s 1\norm:y
THE DEFENDANT:
~pleaded guilty to count(s)              one of the Information.

0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                              Offense Ended
 18 U.S.C. §§ 641 and 2              Aiding and abetting theft of government property,

                                     a Class C felony                                                              4/16/2013                1



       The defendant is sentenced as provided in pages 2 through                   6           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
Ocount(s)                                                   0 is    0 arc dismissed on the motion of the United States.
           It is ordered that the defendant must notiJ}t the United States attornev forth is district within 30 days of any change of name, residence,
or rnai ling address until all fines, restitution. costs, ami special assessments iniposed by this judgment are fully paid. If ordered to pay restitution.
the defenaant must notify the court and United States attorney of material changes in econonlic circumstances.

                                                                                4/24/2014
                                                                           -Datc   of hnposiil;lliof J udg.ment




                                                                                D.P. Marshall Jr.
                                                                            Nam..: und Till~ (lf Judge--




                                                                            Dat~
                             Case 4:13-cr-00336-DPM Document 32 Filed 04/25/14 Page 2 of 6



AO 2--I~R       (Rev. 09/11) Judgment in Criminal Case
                Sheet 2 - Imprisonment
                                                                                                      Judgment- Page     2   of   6
 DEFENDANT: Kyle Matthew Branch
 CASE NUMBER: 4:13-cr-336-DPM-2


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  20 months.




     ilf The court makes the following recommendations to the Bureau of Prisons:
  The Court recommends designation to the BOP medical facility nearest central Arkansas, to facilitate family visits.




     0 The defendant is remanded to the custody ofthe United States Marshal.

     0      The defendant shall surrender to the United States Marshal for this district:

            0     at                                     0 a.m.      D p.m.       on

            0     as notified by the United States Marshal.

     ilf The defendant shall surrender tor service of sentence at the institution designated by the Bureau of Prisons:
            ~ before 2 p.m. on              9/30/2014

            0 as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                             to
                                             -------
 a _ _ __                                                _, with a certified copy of this judgment.




                                                                                By -- -·
                            Case 4:13-cr-00336-DPM Document 32 Filed 04/25/14 Page 3 of 6



r\0 2-t5B      (Rev 09/1 I) Judgment in a Cri111inal Case
               Sheet J - Supervised Release
                                                                                                            Judgment-Page      _ _ _ ol   __ _ __
DEFENDANT: Kyle Matthew Branch
CASE NUMBER: 4:13-cr-336-DPM-2
                                                            SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a tenn of:
3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 davs of release from imprisonment ana at least two periodic drug tests
thereafter. as detennined by the court.                            ·                                                            ~

         The above drug testing condition is suspended. based on the court's detem1ination that the defendant poses a low risk of
         future substance abuse. rChedi. !fapplicable.)
         The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon. fChoxk. ifappltmhle.J
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Ch!!ck. ifapphcahle.)

         The defendant shall comply with the requirements of the Sex Otfender Registration and Notification Act (42 U.S.C. § 1690 I. et seq.)
0        as directed by the probation officer, the Bureau of Prisons. or any state sex offender registration agency in which he or she resides.
         works, is a student. or was convicted of a qualifYing offense. (C"Iu:di, ifapp!tcubte./

0        The defendant shall participate in an approved program for domestic violence. rChet'k. tfapphmble.l
        Ifthis judgment imposes a line or restitution. it is a condition of supervised release that the defendant pav in accordance with the
Schedule of Payments sheet of this judgment.                                                                        •
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not !eave the judicial district without the pennission of the court or probation officer:
    2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation oftlcer:
    4)      the defendant shall support his or her dependents and meet other family responsibilities:
    5)      the defendant shall work regularly at a !awful occupation. unless excused by the probation officer for schooling, training. or other
            acceptable reasons;
    6)      the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)      the defendant shaH refrain from excessive use of alcohol and shall not purchase, possess. use. distribute. or administer any
            controlled substance or any paraphernalia related to any controlled substances. except as prescribed by a physician:
    8)      the defendant shall not frequent places where controlled substances arc illegally sold. used. distributed. or administered:
    9)      the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probauon officer:
  10)       the defendant shall penn it a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation or any
            contraband observed in plain view of the probation officer;
  II)       the defendant sha!! notify the probation officer within seventy-two hours of being arrl!sted or questioned by a law enforcement officer:
  12)       the d~f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permiSSion of the court; and

  13)       as directed by the probation ofticcr, the defendant shall notify third parties of risks that may be occasioned bv the defendant's crimina!
            record or personal history or characteristics and shall pcnnit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
                     Case 4:13-cr-00336-DPM Document 32 Filed 04/25/14 Page 4 of 6


AO 245B   (Rev. OWl!) Judgment in •• Criminal Case
          Sheet JC- Supcn·iscd Rdcusc
                                                                                           JuJgmcn1-P~ge          of
DEFENDANT: Kyle Matthew Branch
CASE NUMBER: 4:13-cr-336-DPM-2

                                        SPECIAL CONDITIONS OF SUPERVISION
 S1) Kyle Branch shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
 loans, fines of credit, and tax returns. This also includes records of any business with which Branch is associated. No new
 lines of credit shall be established without prior approval of the U.S. Probation Office.

 S2) Kyle Branch shall not obtain employment in an institution insured by the FDIC or a Federal Credit Union.
                        Case 4:13-cr-00336-DPM Document 32 Filed 04/25/14 Page 5 of 6


AO 2458    (Rev. 09111) Judgment in a Criminal Ca>c
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- f>agc       5      of     6
DEFENDANT: Kyle Matthew Branch
CASE NUMBER: 4:13-cr-336-DPM-2
                                                CRIMINAL MONETARY PENALTIES
     The detendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                             Restitution
TOTALS             $ 100.00                                            $                                    $ 248,535.51



0    The detennination of restitution is deferred until                    . An Amended Judgmem in a Criminal Case rAO :?-150 will be entered
     after such detennination.

fti The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless specified otherwise in
     the priority order or percentage payment column below. However. pursuant to 18 U.S.C. § 3664(i). all nonfederal victims must be paid
     before the United States is patd.

 Name of Pavee                                                               Total Loss*       Restitution Ordered Prioritv or Percentage
  National Center for Toxicological Research                                    $248,535.51               $248,535.51       100%

  3900 NCTR Road

  Jefferson, AR 72079




 TOTALS                               $                   248,535.51            $             248,535.51


 ~    Restitution amount ordered pursuant to plea agreement $ 248,535.51

 0    The defendant must pay interest on restitution and a fine of more than S2500. unless the restitution or fine is paid in fit II before the
      fifteenth day after the date of the judgment, pursuant 10 18 U.S.C. § 36 I2(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ri/ The court detennincd that the defendant docs not have the ability to pay interest and it is ordered that:
      r;/ the interest requirement is waived for the             0 fine      ~ restitution.
      0 the interest requirement for the              0   fine    0 restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A. II 0, II OA, and ll3A ofTirle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                         Case 4:13-cr-00336-DPM Document 32 Filed 04/25/14 Page 6 of 6
AO 245B    (Rev. 09/11) Judgment in a Cnminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment- Page        6      of           6
DEFENDANT: Kyle Matthew Branch
CASE NUMBER: 4:13-cr-336-DPM-2

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     rJ/ Lump sum payment of$ _10_0_._0_0_ _ __ due immediately, balance due
           D     not later than                                      , or
           D     in accordance          D C,         D D,      D       E, or     D F below; or
8     D Payment to begin immediately (may be combined with                     D C,       D D, or      ri{F below); or
C     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    rJ/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, Kyle Matthew Branch will pay twenty percent per month of all funds that are available to him.
            Beginning the first month of supervised release, payments will be at least ten percent per month of Kyle Matthew
            Branch's monthly gross income. Restitution shall be joint and several with Lee Ann Branch.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 fi{ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Lee Ann Branch, 4:13-cr-336-DPM-1




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
